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                                           ORDERED.


         Dated: September 05, 2017




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

In re:                                                                     Case No: 17-02469-3G7
                                                                           Hearing: 8-30-17 at 10:00 am
NATASHIA T. SWINDLER

                                           Debtor./


                ORDER DENYING TRUSTEE’S RESPONSE TO DEBTOR’S
              APPLICATION FOR WAIVER OF THE CHAPTER 7 FILING FEE

          On the Trustee’s Response to the Debtor’s Application for Waiver of the Chapter 7 Filing
Fee and after notice and hearing, it is ORDERED
          1. The Trustee’s Response to Debtor’s Application for Waiver of the Chapter 7 Filing Fee
             is denied.
          2. The Debtor’s Application for Waiver of the Chapter 7 Filing Fee is approved.
          3. The Chapter 7 filing fee and other fees scheduled by the Judicial Conference under 28
             U.S.C. §§1930(b) and (c) are waived.




         Trustee, Gordon P. Jones, is directed to serve a copy of this Order on interested parties and file a
proof of service within three days of entry of the order.
